                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE



 BOYD SMITH, NANCY SMITH,                )
 JOEY SMITH, JEFFREY SMITH,
 JILL SMITH, BESSIE HACKNEY,             )
 WILLIAM GRAY, PEGGY GRAY,
 and GREGORY HOUSTON, for                )
 themselves and on behalf of all
 others similarly situated,              )

            Plaintiffs                   )

                         v.              )               No. 3:04-cv-591

 FIRST CENTURY BANK, CONNIE              )
 DYER, SHERI LAWSON, KAREN
 WILLIAMS, and DELORIS GRAVES,           )

            Defendants                   )

 and                                     )

 FIRST CENTURY BANK,                     )

            Counter-Plaintiff            )

                         v.              )

 BOYD SMITH, et al.,                     )

            Counter-Defendants           )




                              MEMORANDUM OPINION




Case 3:04-cv-00591-TAV-HBG      Document 42   Filed 07/06/05   Page 1 of 20   PageID
                                       #: 1
               This putative class action1 was filed as the result of allegedly fraudulent

 activity by defendant First Century Bank (FCB) and four of its current or former

 employees, defendants Connie Dyer, Sheri Lawson, Karen Williams, and Deloris

 Graves.2 The class of plaintiffs for whom this action is filed is specifically described

 as follows:

               All customers of the Union County branch of [FCB] whose
               identities and/or financial information were used by
               employees or representatives of [FCB] without permission
               to issue loans, obtain credit, transfer funds, transfer
               property interests, and for other financial transactions
               during the period from January 1, 1998 to the present.

 [Doc. 1, p.2]. The putative class seeks compensatory, punitive and statutory

 damages as well as injunctive and equitable relief pursuant to federal and state law

 as follows:


                   1.     Violation of the Racketeer Influenced and
               Corrupt Organizations Act (Civil RICO), 18 U.S.C. §§ 1961,
               et seq. (Count I);

                  2.      Violation of the federal Consumer Credit
               Protection Act, 15 U.S.C. § 1681s-2 (Count II);




        1
       A hearing to determine whether this action should be certified as a class action
 pursuant to Fed.R.Civ.P. 23(c) has been set for July 12, 2005.
        2
          The court takes judicial notice of the fact that a separate putative class action has
 been filed by Ernest and Patricia Nicely making essentially these same allegations against
 these same defendants, except for Karen Williams, who is not a defendant in that case.
 See Case No. 3:05-cv-175, presently pending before the Honorable R. Leon Jordan, U.S.
 District Judge. See Fed. R. Evid. 201(b) and (c).

                                               2


Case 3:04-cv-00591-TAV-HBG         Document 42       Filed 07/06/05    Page 2 of 20     PageID
                                          #: 2
                   3.    Violation of federal statutes and regulations for
              protection of confidentiality of consumer information (Count
              III);

                 4.      Violation of the Tennessee Identity Theft
              Deterrence Act of 1999, T.C.A. §§ 47-18-2101, et seq.
              (Count IV);

                5.      Violation of the Tennessee Consumer Protection
              Act (TCPA), Tennessee Code Annotated §§ 47-18-101, et
              seq. (Count V);

                 6.     Violation of the Tennessee Financial Records
              Privacy Act, Tennessee Code Annotated §§ 45-10-101, et
              seq. (Count VI);

                  7.      Breach of fiduciary duty (Count VII);

                  8.      Conversion (Count VIII); and

                  9.      Negligence (Count IX).3


              This matter is presently before the court on the motion to dismiss filed

 by defendant Karen Williams [see Doc. 16], and the issues raised have been well

 briefed by the parties [see Docs. 17, 31, and 32]. For the reasons that follow,

 defendant Williams’ motion will be granted, and this case will be dismissed against

 her.




        3
         Count X seeks equitable relief only and therefore does not allege a particular cause
 of action.

                                              3


Case 3:04-cv-00591-TAV-HBG        Document 42       Filed 07/06/05    Page 3 of 20     PageID
                                         #: 3
                                                I.

                                    Factual Allegations



               Plaintiffs have filed a complaint comprising more than 23 pages against

 the five defendants.4 According to the complaint, defendant Connie Dyer, the

 Assistant Vice-President and Chief Loan Officer of the Union County Branch of the

 FCB, devised a scheme to obtain loans in the names of unwitting customers

 including, but not limited to, the nine plaintiffs. Furthermore, according to the

 complaint, this scheme was in effect for an incredible length of time - some six and

 a half years.



               Defendant Karen Williams previously served as a loan processor for

 FCB. According to the complaint, defendant Williams was a notary public and

 improperly used her seal to authenticate the forged signatures of plaintiffs William

 and Peggy Gray on real estate documents transferring the real property interests of

 those plaintiffs to FCB. It is undisputed that defendant Williams has not worked at

 FCB for several years.




        4
          The court is not counting, of course, the nine pages of verifications filed by the nine
 plaintiffs.

                                                4


Case 3:04-cv-00591-TAV-HBG          Document 42       Filed 07/06/05     Page 4 of 20     PageID
                                           #: 4
             In order to analyze the allegations against defendant Williams in the

 context of a motion to dismiss filed pursuant to both Fed.R.Civ.P. 9(b) and 12(b)(6),

 the court will turn to the specific allegations of the complaint against this defendant

 and only against this defendant. Those allegations are as follows:


                                          ...

                  11.    Each of the Plaintiffs was a customer of [FCB]
             ... through its branch office in Union County, Tennessee.

                                          ...

               14.     Karen Williams was an employee of the Union
             County branch of [FCB].

                                          ...

                 16.     Each of the Plaintiffs received by mail or
             telephone notice of the existence of loans or notice of late
             payment on loans through [FCB] for which Plaintiffs never
             applied or received funds; received notice of unauthorized
             transfers of funds from their checking accounts, savings
             accounts, or other assets, including certificates of deposit;
             or received notice of other financial transactions in which
             they did not participate and which they did not authorize in
             any way.

               17.      By mail or telephone, Connie Dyer assured each
             of the Plaintiffs that the unauthorized loans and
             transactions were the result of a “computer error” or
             “mistake”, and that the incorrect transactions would be
             corrected.

                18.     Plaintiffs continued to received late payment
             notices on loans for which they never applied and which
             they never received and/or continued to receive notices of



                                           5


Case 3:04-cv-00591-TAV-HBG       Document 42     Filed 07/06/05   Page 5 of 20    PageID
                                        #: 5
            financial transactions in which they never participated or
            authorized.

                19.     Upon information and belief, during the period
            from January 1, 1998, through August 2004, Connie Dyer,
            Sheri Lawson, Deloris Graves, Karen Williams, and other
            representatives of [FCB] whose names are unknown at this
            time, forged the signatures of bank customers, including
            Plaintiffs; notarized forged signatures of bank customers,
            including Plaintiffs; and otherwise without permission used
            the identities and confidential financial information of
            Plaintiffs and other customers of the Union County branch
            of [FCB] to fraudulently obtain loans, obtain credit, obtain
            funds, transfer funds, transfer property interests, and
            convert assets of Plaintiffs and other bank customers.

                20.    Upon information and belief, the methods by
            which Defendants and/or other bank representatives
            fraudulently used the identities and confidential information
            of the bank customers include, but are not limited to, the
            following examples:

                         William and Peggy Sue Gray

                                        ...

                            f)     Karen Williams, Connie Dyer, and
                       other bank employees prepared real estate
                       documents, including modifications of deeds of
                       trust and corrections of modifications of deeds
                       of trust, transferring real property interests of
                       Williams and Peggy Gray to [FCB] (a.k.a. First
                       Claiborne Bank) to secure repayment of loans
                       that William Gray and Peggy Gray never
                       received and of which they had no knowledge.
                       The names of William Gray and Peggy Gray
                       were forged on these real estate documents.
                       Karen Williams, Connie Dyer and Sheri
                       Lawson notarized forged signatures of William
                       and Peggy Gray, falsely attesting that William
                       and Peggy Gray personally appeared and

                                         6


Case 3:04-cv-00591-TAV-HBG     Document 42     Filed 07/06/05   Page 6 of 20   PageID
                                      #: 6
                          acknowledged the forged signatures. Connie
                          Dyer and Deloris Graves signed these forged
                          documents on behalf of the bank.            A
                          representative of [FCB] recorded these forged
                          documents with the Union County Register of
                          Deeds, thereby creating security interests for
                          the bank in the real property of William and
                          Peggy Gray to secure loans the Grays never
                          received and about which they knew nothing.


 [See Doc. 1, pp.3-6 (emphasis added)]. Finally, it must be noted that plaintiffs have

 alleged in     ¶ 38 of the complaint that, “[w]hen some Plaintiffs met with

 representatives of [FCB] to discuss problems with loan documents, the bank

 representatives physically concealed the documents from Plaintiffs by partially

 covering the documents with their hands or paper, so that Plaintiffs could only see

 their forged signatures, but could not determine the nature of the documents.” [Doc.

 1 at p.11].



                                            II.

                  Motion to Dismiss Pursuant to Fed.R.Civ.P. 9(b)



               In Count I, plaintiffs allege that defendants violated 18 U.S.C. § 1962(a),

 (b), and (c) by the commission of various fraudulent acts. In her pending motion,

 defendant Williams first contends that this count of the complaint must be dismissed




                                             7


Case 3:04-cv-00591-TAV-HBG        Document 42     Filed 07/06/05    Page 7 of 20    PageID
                                         #: 7
 pursuant to Fed.R.Civ.P. 9(b) because it fails to set forth specific acts by her that

 constitute fraudulent behavior.



              Rule 9(b) of the Federal Rules of Civil Procedure provides that in a

 complaint alleging fraud, “the circumstances constituting fraud ... shall be stated

 with particularity.” Fed.R.Civ.P. 9(b). The purpose of Rule 9(b) is “to provide a

 defendant fair notice of the substance of a plaintiff’s claim in order that the defendant

 may prepare a responsive pleading.” Michaels Bldg. Co. v. AmeriTrust Co., N.A.,

 848 F.2d 674, 679 (6th Cir. 1988) (citations omitted). The Sixth Circuit interprets

 Rule 9(b)’s requirement “liberally, ... requiring a plaintiff, at a minimum, to allege the

 time, place, and content of the alleged misrepresentation on which he or she relied;

 the fraudulent scheme, the fraudulent intent of the defendants, and the injury

 resulting from the fraud.” Coffey v. Foamex, L.P., 2 F.3d 157, 161-62 (6th Cir. 1993)

 (internal quotation marks and citations omitted). As noted by the Michaels court, the

 liberal reading stems from the influence of Rule 8 which “requires a ‘short and plain

 statement of the claim,’ and calls for ‘simple, concise and direct’ allegations.”

 Michaels, 848 F.2d at 679.           Nevertheless, even against Rule 8's “backdrop

 admonition    of   simplicity   in    pleading,”   [id.],   “allegations   of   fraudulent

 misrepresentation[s] must be made with sufficient particularity and with sufficient

 factual basis to support an inference that they were knowingly made.” Coffey, 2 F.3d

 at 162 (internal quotation marks and citation omitted).

                                             8


Case 3:04-cv-00591-TAV-HBG        Document 42       Filed 07/06/05   Page 8 of 20    PageID
                                         #: 8
              It is beyond cavil that courts have applied the pleading standards of Rule

 9(b) to RICO complaints. As one court has observed, “[w]ithout that insistence on

 specificity, the [RICO] Act is virtually limitless in its application.” Bache Halsey Stuart

 Shields, Inc. v. Tracy Collins Bank & Trust Co., 558 F.Supp. 1042, 1046 (D. Utah

 1983). Otherwise, the “mere invocation of the statute has such an in terrorem effect

 that it would be unconscionable to allow it to linger in a suit and generate suspicion

 and unfavorable opinion of the putative defendant unless there is some articulable

 factual basis which, if true, would warrant recovery under the statute.” Taylor v. Bear

 Stearns & Co., 572 F.Supp. 667, 682 (N.D. Ga. 1983). Moreover, where mail fraud

 and wire fraud are alleged, as in the instant case, courts are particularly sensitive to

 these pleading requirements, requiring “specific allegations as to which defendant

 caused what to be mailed (or made which telephone calls), and when and how each

 mailing (or telephone call) furthered the fraudulent scheme.” Gotham Print, Inc. v.

 American Speedy Printing Centers, Inc., 863 F.Supp. 447, 458 (E.D. Mich. 1994)

 (emphasis in original) (citations omitted).



              Against this legal background, the allegations against defendant

 Williams fall woefully short of the requirements of Rule 9(b) in the context of a civil

 RICO case. The only specific allegation as to Ms. Williams is that she prepared one

 or more real estate documents that provided security for repayment of certain

 fraudulently obtained loans and that she notarized one or more of the forged

                                             9


Case 3:04-cv-00591-TAV-HBG        Document 42      Filed 07/06/05    Page 9 of 20     PageID
                                         #: 9
signatures of plaintiffs William and Peggy Gray. In fact, because of the loose

manner in which this defendant has been “lumped in” with the other defendants in

the complaint, it is difficult, if not impossible, to ascertain whether plaintiffs allege that

this defendant has even prepared more than one false real estate document and/or

whether she has notarized more than one forged signature of one of the Grays.



              Nevertheless, the court notes that an exception to the particularity

requirement of Rule 9(b) exists when the relevant facts “lie exclusively within the

knowledge and control of the opposing party ... .” Craighead v. E.F. Hutton & Co.,

Inc., 899 F.2d 485, 489 (6th Cir. 1990) (citation omitted). In such a case, pleading

upon information and belief is permissible although the plaintiff “must plead a

particular statement of facts upon which his belief is based.” Id. (citation omitted).

Consequently, a court should be reluctant to dismiss an action pursuant to Rule 9(b)

when the facts underlying the claim are within the defendant’s control, especially

when no discovery has been conducted. See Michaels Bldg. Co., 848 F.2d at 680.



              Here, plaintiffs have alleged that the defendants are in control of the

evidence of the financial transactions that are the basis of this complaint. In fact, as

alleged in ¶ 38 of the complaint, FCB representatives physically concealed forged

and fraudulent documents by covering the documents with objects so that plaintiffs

could see only their forged signatures; consequently, plaintiffs could not determine

                                             10


   Case 3:04-cv-00591-TAV-HBG          Document 42       Filed 07/06/05    Page 10 of 20
                                       PageID #: 10
the nature of the documents. Under these circumstances, this court is reluctant to

dismiss this complaint against defendant Williams pursuant to Rule 9(b) because the

documents are exclusively within the control of FCB and because no discovery has

been undertaken. That is not an end to this inquiry, however.



                                         III.

                  Motion to Dismiss Pursuant to Rule 12(b)(6)



            Defendant Williams next contends that Count 1 of the complaint should

be dismissed against her pursuant to Fed.R.Civ.P. 12(b)(6). Technically, a Rule

12(b)(6) motion does not attack the merits of the case - it merely challenges the

pleader’s failure to state a claim properly. 5 C. Wright, A. Miller & M. Kane, Federal

Practice & Procedure, § 1364 at 340 (Supp. 1987). In deciding a Rule 12(b)(6)

motion, the court must determine whether the complaint sets forth sufficient

allegations to establish a claim for relief. In conducting its review, the court “must

construe the complaint in the light most favorable to the plaintiff, accept all of the

complaint’s factual allegations as true, and determine whether plaintiff undoubtedly

can prove no set of facts in support of his claim that would entitle him to relief.”

Powell v. Jacor Communications Corporate, 320 F.3d 599, 601-02 (6th Cir. 2003)

(quoting Ziegler v. IBP Hog Market, Inc., 249 F.3d 509, 512 (6th Cir. 2001)).




                                         11


  Case 3:04-cv-00591-TAV-HBG        Document 42     Filed 07/06/05   Page 11 of 20
                                    PageID #: 11
             The complaint must in essence set forth enough information to outline

the elements of a claim or to permit inferences to be drawn that these elements

exist. Jenkins v. McKeithen, 395 U.S. 411 (1969). Conclusory allegations are not

acceptable, however, where no facts are alleged to support the conclusion or where

the allegations are contradicted by the facts themselves. Vermilion Foam Products

Co. v. General Electric Co., 386 F.Supp. 255 (E.D. Mich. 1974). The court cannot

dismiss plaintiff’s complaint unless “it appears beyond doubt that the plaintiff can

prove no set of facts in support of his claim which would entitle him to relief.” Conley

v. Gibson, 355 U.S. 41, 45-46 (1957).



                                          A.

                              Section 1962(a) of RICO



             Plaintiffs first allege that the defendants, presumably including Williams,

violated 18 U.S.C. § 1962(a) “by receiving income derived from a pattern of

racketeering activity ... .” [Doc. 1, p.12]. The complaint then lists the various

predicate acts which were committed by these defendants which comprise the

racketeering activity.



             Section 1962(a) of RICO provides in part:




                                          12


  Case 3:04-cv-00591-TAV-HBG         Document 42     Filed 07/06/05    Page 12 of 20
                                     PageID #: 12
                It shall be unlawful for any person who has received any
             income derived, directly or indirectly, from a pattern of
             racketeering activity ... to use or invest, directly or
             indirectly, any part of such income, or the proceeds of such
             income, in acquisition of any interest in, or the
             establishment or operation of, any enterprise which is
             engaged in, or the activities of which affect, interstate or
             foreign commerce.

18 U.S.C. § 1962(a).



             It is well settled in the Sixth Circuit that plaintiffs must plead a specific

injury to them caused by the investment of income into the racketeering enterprise,

distinct from any injuries caused by the predicate acts of racketeering. Craighead,

899 F.2d at 494 (dismissing § 1962(a) claim when plaintiffs alleged “only injuries

traceable to the alleged predicate acts”). The instant complaint simply does not

allege any injuries stemming from the investment of the ill gotten income, distinct

from injuries stemming from the predicate acts. There is not even an attempt to

employ boilerplate language in this respect.5 Rather, this complaint alleges at most

that defendant Williams forged the signatures of bank customers and notarized

those forged signatures and received income from doing so. In fact, as has been

previously pointed out, it is impossible to ascertain from this complaint whether

plaintiffs allege that defendant Williams actually forged any signatures or simply

notarized the forged signatures of one of the Grays on one occasion. In short, the

       5
        That is not to suggest, however, that such a tactic would defeat the pending motion
on this issue.

                                            13


  Case 3:04-cv-00591-TAV-HBG          Document 42      Filed 07/06/05    Page 13 of 20
                                      PageID #: 13
allegations of this complaint come nowhere close to meeting the Sixth Circuit’s

requirement of a distinct “investment injury.” See Vemco, Inc. v. Camardella, 23

F.3d 129, 133 (6th Cir.), cert. denied, 513 U.S. 1017 (1994) (affirming the district

court’s dismissal of the amended complaint under Rule 12(b)(6) for plaintiff’s failure

to allege investment injury as opposed to injuries as a result of the predicate acts

which were part of the pattern of racketeering activity). Accordingly, plaintiffs have

failed to state a cause of action under § 1962(a) against defendant Williams.



                                           B.

                              Section 1962(b) of RICO



             Plaintiffs next claim that the defendants, presumably including defendant

Williams, violated 18 U.S.C. § 1962(b) “in that by or through the above-described

pattern of racketeering activity, they acquired or maintained, directly or indirectly,

interest in and/or control of an enterprise engaged in, or the activities of which affect,

interstate or foreign commerce, namely, [FCB], as well as the enterprise consisting

of Connie Dyer, Sheri Lawson, Karen Williams, Deloris Graves and other [FCB]

employees whose names currently are unknown.” [Doc. 1, p.13]. Section 1962(b)

of RICO provides in part:

             It shall be unlawful for any person through a pattern of
             racketeering activity ... to acquire or maintain, directly or
             indirectly, any interest in or control of any enterprise which

                                           14


  Case 3:04-cv-00591-TAV-HBG         Document 42      Filed 07/06/05    Page 14 of 20
                                     PageID #: 14
             is engaged in, or the activities of which affect, interstate or
             foreign commerce.

18 U.S.C. § 1962(b).



             “A violation of § 1962(b) requires that the RICO defendant acquire or

maintain an interest in, or control of, an enterprise through (or by way of) the pattern

of racketeering activity.” Advocacy Organization for Patients and Providers v. Auto

Club Ins. Assoc., 176 F.3d 315, 328 (6th Cir. 1999) (emphasis in original).

Furthermore, a complaint for violation of § 1962(b) must allege an “‘acquisition or

maintenance’ injury separate and apart from the injury suffered as a result of the

predicate acts of racketeering activity”. Id. at 329 (citing Danielsen v. Burnside-Ott

Aviation Training Ctr., 941 F.2d 1220, 1231 (D.C. Cir. 1991)).



             Like their allegations pursuant to § 1962(a), plaintiffs’ allegations under

sub-section (b) suffer from a similar and fatal flaw. The only harm to plaintiffs set

forth in this complaint, at least as it pertains to any harm generated by defendant

Williams, is the harm resulting from the fraud which constitutes the alleged predicate

acts. However, injury from the racketeering acts themselves is not sufficient; rather,

plaintiff must plead facts tending to show the acquisition or control of an interest

injured these plaintiffs. See Delorean v. Cork Gully, 118 B.R. 932, 946 (E.D. Mich.

1990). Consequently, plaintiffs’ allegations against this defendant pursuant to §



                                           15


  Case 3:04-cv-00591-TAV-HBG         Document 42      Filed 07/06/05    Page 15 of 20
                                     PageID #: 15
1962(b) also miss the mark of stating a specific cause of action against defendant

Williams. Therefore, this cause of action must be dismissed against her.



                                           C.

                              Section 1962(c) of RICO



             Finally, plaintiffs allege that defendants violated 18 U.S.C. § 1962(c) “by

being persons employed by or associated with an enterprise engaged in, or the

activities of which affect, interstate or foreign commerce, and conducting or

participating, directly or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity, as described above.” [See Doc. 1, p.13].



             Section 1962(c) of RICO provides in part:


             It shall be unlawful for any person employed by or
             associated with any enterprise engaged in, or the activities
             of which affect, interstate or foreign commerce, to conduct
             or participate, directly or indirectly, in the conduct of such
             enterprise’s affairs through a pattern of racketeering activity
             ... .

18 U.S.C. § 1962(c).



             In Reves v. Ernst & Young, 507 U.S. 170 (1993), the Supreme Court

clarified the scope of 18 U.S.C. § 1962(c). Specifically, the Court stated:

                                           16


  Case 3:04-cv-00591-TAV-HBG         Document 42      Filed 07/06/05    Page 16 of 20
                                     PageID #: 16
            [I]t is clear that Congress did not intend to extend RICO
            liability under § 1962(c) beyond those who participate in
            the operation or management of an enterprise through a
            pattern of racketeering activity.


Id. at 184. The Court further observed as follows:


            In order to “participate, directly or indirectly, in the conduct
            of such enterprise’s affairs, one must have some part in
            directing those affairs. Of course, the word “participate”
            makes clear that RICO liability is not limited to those with
            primary responsibility for the enterprise’s affairs, just as the
            phrase “directly or indirectly” makes clear that RICO liability
            is not limited to those with a formal position in the
            enterprise, but some part in directing the enterprise’s
            affairs is required. The “operation or management” test
            expresses this requirement in a formulation that is easy to
            apply.


Id. at 179 (emphasis in original) (footnote omitted).



            Here, the complaint contains no factual allegations whatsoever to

support the bare assertion that defendant Williams participated in the operation or

management of FCB or the alleged enterprise consisting of the individual

defendants. Plaintiffs have not alleged that defendant Williams made any business

decision whatsoever for either of these entities or that she had any relationship with

either entity other than providing occasional notary services for FCB. In the court’s

view, these sparse allegations are insufficient to allege a cause of action under §



                                          17


  Case 3:04-cv-00591-TAV-HBG        Document 42      Filed 07/06/05     Page 17 of 20
                                    PageID #: 17
1962(c). See Paycom Billing Services v. Payment Resources, 212 F.Supp.2d 732,

741 (W.D. Mich. 2002) (dismissing RICO claim where plaintiff did not adequately

allege that defendant conducted or participated in the conduct of an enterprise

through racketeering activity). See also Eby v. Producers Co-op, Inc., 959 F.Supp.

428, 432 (W.D. Mich. 1997) (dismissing RICO claim where there were no allegations

that the defendant knowingly engaged in directing the enterprise).



            Additionally, in this case, it appears that the solitary allegation that

defendant Williams participated in the conduct of the RICO enterprise is

contradictory to the more specific allegations of this complaint. This complaint is

replete with allegations concerning the fraudulent acts of Connie Dyer, who is the

one person alleged to be directing the affairs of the enterprise consisting of the

individual defendants and to some extent the FCB enterprise. A fair reading of all

of the allegations indicates no participation in the operation or management of either

enterprise by defendant Williams. Accordingly, plaintiffs’ cause of action against

defendant Williams under § 1962(c) must be dismissed for failure to state a claim

upon which relief can be granted.




                                         18


  Case 3:04-cv-00591-TAV-HBG        Document 42     Filed 07/06/05   Page 18 of 20
                                    PageID #: 18
                                          IV.

           Violation of the Federal Consumer Credit Protection Act
                              15 U.S.C. § 1681s-2



            Count II of the complaint sets forth allegations only against defendant

FCB. In fact, plaintiffs admit in their opposition brief that there is no claim against

this defendant in this count [see Doc. 31, p.23]. Accordingly, defendant Williams’

motion to dismiss Count II of the complaint is well taken and will be granted.



                                          V.

              Violation of Federal Statutes and Regulations for
            Protection of Confidentiality of Consumer Information



            Count III of the complaint, like Count II, makes specific allegations only

against defendant FCB. And again plaintiffs candidly admit in their response brief

that they make no allegation that defendant Williams violated these statutes [see id.].

Accordingly, defendant Williams’ motion to dismiss Count III of the complaint is well

taken and will be granted.




                                          19


  Case 3:04-cv-00591-TAV-HBG        Document 42      Filed 07/06/05   Page 19 of 20
                                    PageID #: 19
                                          VI.

                               All Remaining Counts



             The remaining counts against defendant Williams set forth causes of

action either under Tennessee statutes or under Tennessee common law. Because

this court has dismissed all of plaintiffs’ federal causes of action against defendant

Williams, this court will decline to exercise supplemental jurisdiction over plaintiffs’

state law claims against her. See 28 U.S.C. § 1367(c)(3). See also United Mine

Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966) (“Certainly, if the federal claims

are dismissed before trial, even though not insubstantial in a jurisdictional sense, the

state claims should be dismissed as well.”).



             Order accordingly.


                                                       s/ James H. Jarvis
                                                UNITED STATES DISTRICT JUDGE




                                          20


  Case 3:04-cv-00591-TAV-HBG         Document 42     Filed 07/06/05    Page 20 of 20
                                     PageID #: 20
